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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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.1£RRANT GENE THERAPEUTICS, LLC,

                                         Plaintiff,                 MEMORANDUM
                                                                    OPINION AND ORDER
                      - against -
                                                                    15-CV-2044 (AJN) (RLE)
SLOAN-KETTERING INSTITUTE
FOR CANCER RESEARCH,

                                         Defendant.         .
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RONALD L. ELLIS, United States Magistrate Judge:

                                    I.        INTRODUCTION

       Before this Court are the Parties' cross-motions for entry of a protective order pursuant to

Federal Rule of Civil Procedure 26(c). (Doc. Nos. 61and62.) While the Parties agree that a

protective order is necessary to protect the exchange of information in discovery, they disagree

on the scope of the order. Plaintiff Errant Gene Therapeutics ("EGT") seeks: 1) a "Highly

Confidential" provision that would apply to "highly sensitive internal research documents," and

2) an "Attorneys' Eyes Only" provision that would apply to information reflecting the identity of

any entity with whom the Parties are in business negotiations. (Doc. No 61 at 1-2.) Defendant

Sloan-Kettering Institute for Cancer Research ("SKI") seeks a broader designation: an

"Attorneys' Eyes Only" provision that applies to discovery containing "proprietary or sensitive

personal, research or business information." (Doc. No. 62 at 1.)

       The Parties also disagree on the number of people who will have access to information

designated "Confidential." EGT requests that confidential information be made accessible to

three executives. (Doc. No. 61 at 3.) SKI seeks to limit disclosure to two in-house counsel and
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two additional officers or employees of either party. (Doc. No. 62 at 1.) For the reasons that

follow, both motions are GRANTED in part, and DENIED in part.

                                     II.     BACKGROUND

       EGT, a company that developed a treatment for sickle-cell anemia and thalassemia,

known as the vector, brings this breach of contract action against SKI. (Doc. No. 61 at 2.) EGT

alleges that SKI fraudulently induced EGT into an agreement to purchase the vector, promising

to commercialize it and share the proceeds. (See generally Complaint at Doc. No. 1.) SKI

contends that it has invested significant resources in vector product development with the

expectation that its related research and business dealings would be kept confidential. (Doc. No.

62 at 1.) SKI proposes to apply an "Attorneys' Eyes Only" provision to "proprietary or sensitive

personal, research or business information" in the hopes that it will prevent EGT from

benefitting from its product development. (Id. at 1-2.) This includes: (1) clinical studies and

scientific research; (2) valuable business practices and strategies that are not generally known

and for which reasonable efforts are undertaken to preserve their confidentiality, such as trade

secrets; and (3) sensitive personnel information. (Doc. No. 62 at 4-5.) The document requests

by EGT that SKI takes issue with include: (1) documents discussing, concerning or referencing

companies in the biotechnology industry; (2) documents concerning SKI's efforts to treat

patients with the vector; (3) documents concerning SKI's efforts to commercialize the vector;

and (4) documents of SKI' s efforts to recruit patients for clinical trials with the vector. (Doc.

No. 63 at Exhibit ("Ex") 1.)

       Despite EGT's arguments to the contrary, SKI maintains that its research material would

be beneficial to EGT in developing another product or a modified version of the vector. SKI

consistently points to a New York Times article in which EGT's CEO, Pat Girondi ("Girondi"),



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explains that he is "raising money to make more of the therapy and treat more patients." (Doc.

No. 53-2 at 6.) SKI interprets that statement to mean that EGT is trying to develop and
commercialize another vector and treat patients at another hospital. (Doc. No. 62 at 2.) SKI also

argues that without an "Attorneys' Eyes Only" provision, the vector project could suffer harm if

EGT improperly uses SKI's research, leading to development delays, compromising product

safety and efficacy, and/or derailing the SKI project completely. (Id.) SKI believes that EGT

could gain an "unwarranted market advantage" with knowledge of SKI's unpublished research

and clinical-trial process. (Id. at 7.) Through this access to SKI's information, SKI posits that

EGT could use the information to advance its own research and clinical trials. (Id.)

        EGT argues that the Parties have been collaborators in the development and

commercialization of the vector, and there is no articulable reason why it should not have access

to the information it seeks from SKI. (Doc. No. 61 at 2.) According to EGT, it is "already privy

to research material concerning the vector." (Doc. No. 70 at 2.) In any event, EGT contends that

it has already agreed that "highly sensitive research materials" can only be viewed in the offices

of SKI' s outside counsel, and no further restrictions are necessary to address SKI' s concerns.

(Id. at 1.)

         With respect to harm to its business dealings, SKI contends that third-party companies

will be hesitant to engage in out-licensing transactions for the vector. It explains that the purpose

of developing the vector was to secure an out-licensing transaction with a pharmaceutical

company. (Doc. No. 62 at 6.) Such companies "conduct due diligence to learn who has received

access to the data, research, and product information." (Id. at 2.) SKI is concerned that granting

EGT employees access to such information will tum away prospective licensees if they perceive

a risk of being harassed by EGT or being drawn into litigation. (Id.) SKI additionally expresses



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concern about access to information from Memorial Sloan Kettering Cancer Center's ("MSK"),

of which SKI is a unit. (Id.)
       The Parties also dispute the number of business people who will have access to the

information marked "Confidential." According to SKI, its proposal will permit EGT's

"independent experts and six outside lawyers" to view "Attorneys' Eyes Only" information.

Additionally, two employees will have access to any materials marked confidential, which SKI

argues is more than sufficient. (Id at 3.) EGT has agreed to limit the number of individuals who

can see "confidential" information to three: 1) Girondi; 2) Sam Salman ("Salman"), President;

and (3) Jason Feldman ("Feldman"), Director of Business Operations. (Doc. No. 61 at 3.) EGT

maintains that these three executives possess the knowledge and experience to determine

whether SKI' s documents support the claim that SKI has been working towards the

commercialization of the Vector. (Id)

                                      III.   DISCUSSION

A.     Applicable Law

       A party "may obtain discovery regarding any non-privileged matter that is relevant to any

party's claim or defense and proportional to the needs of the case." FED. R. C1v. P. 26(b)(l).

Rule 26( c)(1) authorizes courts, for good cause shown, to "issue an order to protect a party or

person from annoyance, embarrassment, oppression, or undue burden or expense." FED. R. C1v.

P. 26(c)(l). "The party seeking a protective order has the burden of demonstrating that good

cause exists for issuance of the order." Uniroyal Chem. Co. v. Syngenta Crop Prat., 224 F.R.D.

53, 56 (D. Conn. 2004) (internal citations omitted); see also Dove v. Atlantic Capital Corp., 963

F.2d 15, 19 (2d Cir. 1992) (citations omitted). More than "[b]road allegations of harm

unsubstantiated by specific examples or articulated reasoning," good cause requires "the moving



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party [to] demonstrate that 'disclosure will work a clearly defined and very serious injury.'"

Uniroyal Chem. Co., 224 F.R.D. at 56 (internal citations omitted).
       There are a number of ways in which courts may enter a protective order, including

forbidding the disclosure or discovery sought, prescribing a discovery method other than the one

selected by a party, or designating the persons who may be present while the discovery is

conducted. FED. R. C1v. P. 26(c)(A), (C), (E). Courts may also require that "a trade secret or

other confidential research, development, or commercial information not be revealed or be

revealed only in a specified way. FED. R. C1v. P. 26(c)(G).

       "Whether information merits protection in a particular case depends upon: 1) the extent

to which the information is known outside the business; 2) the extent to which information is

known to those inside the business; 3) the measures taken to guard the secrecy of the

information; and 4) the value of the information to the business and its competitors." Uniroyal

Chem. Co., 224 F.R.D. at 56-57. Protective orders limiting access to highly confidential

information to counsel and experts "are commonly entered in litigation involving trade secrets

and other confidential research, development, or commercial information." Vesta Corset Co.,

Inc. v. Carmen Foundations, Inc., No. 97-CV-6139 (WHP), 1999 WL 13257, at *3 (S.D.N.Y.

Jan 13, 1999) (internal citations omitted).

       "Where a party seeks a protective order restricting the scope of discovery of technical,

proprietary information, the court should balance ... 'the interests in full disclosure of relevant

information and reasonable protection from economic injury.' Relevant considerations in

striking this balance include: 1) whether the person receiving the confidential information is

involved in competitive decision making or scientific research relating to the subject matter of

the patent, 2) the risk of inadvertent disclosure of proprietary information, 3) the hardship



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imposed by the restriction, 4) the timing of the remedy and, 5) the scope of the remedy."

Uniroyal Chem. Corp., 224 F.R.D. at 57 (internal citations omitted). "The competing interests to
be evaluated in determining the outcome of such a dispute are one party's right to broad

discovery and the other party's ability to protect its confidential materials from misuse by

competitors." Medimmune, Inc. v. Centocor, Inc., 271 F. Supp. 2d 762 (D. Md. 2003) (internal

citations omitted).

B.      Research and Development Material is Properly Restricted

       Although the Parties do not appear to be direct competitors, SKI' s proposal to designate

as highly confidential research, development, and commercial information is consistent with the

protections afforded under Rule 26( c ). SKI seeks to restrict clinical studies, scientific research,

business practices and strategies, and sensitive personnel information to "Attorneys' Eyes Only."

It argues that the disclosure of SKI and MSK information will cause injury and risk of misuse,

which in tum could harm vector development. (Doc. No. 62 at 5.) What SKI seeks to protect is

not as broad as EGT suggests. SKI does not vaguely designate "any sensitive document," as

EGT states (Doc. No. 61 at 1), but rather describes what types of documents would be

considered highly confidential.

       While EGT contends that the Parties were collaborators in vector development, and not

competitors, the very nature of the Parties' relationship in this litigation is adversarial. Prior to

dismissal of its replevin cause of action, EGT sought an order requiring SKI to allow EGT to

treat patients in clinical trials, which is what SKI purportedly failed to do for a period of twenty-

one months. (Doc. No. 16 at 2-20.) In its Complaint, EGT demanded reversion of right in the

vector, as well as intellectual property and clinical trial results. (Id. at 20.) The logical

conclusion to be drawn from such a demand is that EGT seeks return of the vector to develop



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and commercialize it. SKI's argument that EGT could gain unwarranted market advantage

through disclosure of unpublished research and clinical trial information is therefore plausible. lt
is equally plausible that prospective licensees would be wary of engaging in an out-licensing

transaction if a potential competitor such as EGT was known to have access to development and

proprietary information. See Tailored Lighting, Inc. v. Osram Sylvania Products, Inc., 236

F.R.D. 146, 148 (W.D.N.Y. 2006) ("Recognizing the sensitive nature of proprietary technical

information, courts generally afford more protection to it than to ordinary business

information"); Sullivan Marketing, Inc. v. Valassis Communications, Inc., No. 93-CV-6350

(PKL), 1994 WL 177795, at *2 (S.D.N.Y. May 5, 1994) (finding that knowledge of the

defendant's marketing plans would give its competitors an unwarranted advantage in the

market).

       Such risks must therefore be balanced against the risk of disclosure and the hardship EGT

may suffer with an "Attorneys' Eyes Only" designation. EGT has agreed to designate as

confidential the names of entities with whom SKI is in business negotiations. (Doc. No. 70 at 4.)

This solution, however, does not seem to protect against misuse or improper disclosure.

According to SKI, Girondi has made assurances that he will not disclose confidential information

to employees who are not direct participants in competitive decision-making, product design, or

research. (Doc. No. 62 at 8.) Given EGT's repeated representations that it seeks to do the same

thing it contracted with SKI to do with the vector, the Court is not convinced that Girondi's

assurances are sufficient. In a New York Times article dated October 15, 2015, Girondi was

quoted as saying that he was raising money to make more therapy and treat more patients. (Doc.

No. 53-2 at 7.) SKI reportedly indicated it would not stop his endeavors, so long as he does not

use SKI's "money, property orpersonnel [sic]." (Id.) EGT points out that Girondi has spent



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years working on the development of the Vector. (Doc. No. 61 at 3.) Girondi's ambitions in

developing the vector directly contradicts providing him with unfettered access to information
regarding SKI's business dealings, clinical trials, or personnel information.

       It follows that Girondi would be intimately involved in competitive decision-making.

EGT's president, Salaman, also holds a position as CEO of an investment firm that deals in the

biotechnology and pharmaceutical sectors. (Doc. No. 72 at 3.) EGT does not dispute this

assertion. Because of Girondi and Salaman' s roles in competitive decision-making, the

inadvertent risk of disclosure warrants a more restrictive designation for document production as

proposed by SKI. See Koninklijke Philips N. V v. iGuzzini Lighting USA, Ltd., 311 F.R.D. 80, 83

(S.D.N. Y. 2015) ("[T]he competitive decisionmaker analysis hinges on the risk of inadvertent

disclosure, because it is difficult for the human mind to compartmentalize and selectively

suppress information once learned, no matter how well-intentioned the effort may be to do so")

(citing In re Deutsche Bank Trust Co. Americas, 605 F.3d 1373, 1378 (Fed. Cir. 2010))

(emphasis in the original) (internal quotations omitted).

       Nor does EGT dispute that its experts and six lawyers will have access to the information

under SKI's "Attorneys' Eyes Only" designation. Tailored Lighting, 236 F.R.D. at 148 ("[I]n

cases involving the disclosure of trade secrets, courts often issue protective orders limiting access

to the most sensitive information to counsel and their experts") (collecting cases). SKI' s need to

protect research materials and business information outweighs the hardship EGT will suffer if

the disclosure is limited to attorneys and experts for both Parties.

C.     EGT's Proposal to Limit to Three Employees for Disclosure of Confidential
       Information is Sufficient

        SKI has not shown good cause for limiting disclosure of confidential information to two

in-house counsel and two employees of each party, as opposed to EGT's proposal of three


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employees. SKI merely argues that an expansion from two to three employees will "only

increase the risk of misuse." (Doc. No. 62 at 10.) SKI has not specified, hased on the three
names provided by EGT, which executive it would seek to limit. The Court agrees with EGT

that SKI does not seem to care which two individuals see the information designated

confidential.

       EGT identified Girondi, Salman, and Feldman as executive employees who should have

access to confidential information. EGT argues that these individuals have knowledge and

experience to determine whether SKI's documents support its claims that it has worked to

commercialize the Vector. (Doc. No. 61 at 3.) SKI has not provided a compelling reason to

outweigh the prejudice EGT will suffer if the executives are prevented from accessing

information. While these employees will not have access to information designated "Attorneys'

Eyes Only," the Court finds that they are properly within the scope of what SKI contemplates as

confidential information.

                                     IV.    CONCLUSION

       The Parties are HEREBY ORDERED to conduct discovery in manner consistent with

this opinion. The clerk of court is directed to close Doc. No. 52 and 54.

                        ~
SO ORDERED this      l__ day of September 2016.
New York, New York



                                                             The Honorable Ronald L. Ellis
                                                             United States Magistrate Judge




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